Case: 5:20-cr-00047-DCR Doc #:17-2 Filed: 09/15/20 Page: 1 of 3 - Page ID#: 55

EXHIBIT 2

Case: 5:20-cr-00047-DCR Doc #:17-2 Filed: 09/15/20 Page: 2 of 3 - Page ID#: 56

August 31, 2020

Hon. Danny C. Reeves

United States Chief Judge

US District Court, Eastern District of Kentucky
101 Barr Street

Lexington, KY 40507

Dear Hon. Judge Reeves,

I am writing on behalf of Theo Gerstle, my domestic partner, who will be sentenced by
the Court on September 25, 2020. Theo and I have been in a relationship since January
2017. My son and I have shared a home with he and his three children since November
2017. We have now blended our families and created a loving and nurturing home for
our children.

Theo‘s problems came to the forefront in January 2018. He thereafter voluntarily entered
in-patient treatment, in January 2018, in Pennsylvania. I would not see him in person,
until March 2, 2018 when I went to visit him at the treatment center and attend sessions
for those in a relationship with the patient. When I first saw Theo, the change was readily
apparent. He looked healthy and was focused. That weekend I attended AA meetings
with Theo and therapy sessions. I talked to him nearly every day while he was in
treatment. Hearing the evolution in his thought process, during this time, and witnessing
the change in person, I knew that Theo had accepted that his life was unmanageable,
was addressing his issues head on and fully embracing the opportunity to recover. Since
treatment, he has worked diligently every day to maintain his sobriety and rebuild his
family and practice.

Before Theo started his journey of recovery, he was a devoted father. In recovery, he is
even more devoted to being present for his children, my son, and me. He ensures every
need the children have is met. He has his children the majority of the time and makes
the most of that time. He takes them to school each morning and picks them up in the
afternoons. AS a parent, this is invaluable time with your child to set the tone, prepare
them for the day, and be there at the end of the day to recap. Theo's fourteen-year-old
daughter and six-year-old son are currently attending school, virtually, from his medical
practice office. Theo is available to them if they need assistance. Theo also engages the
children in fun life experiences on weekends, such as going to Cumberland Falls, Carter

Caves and canoeing recently.

The children’s mother works during the week, at a hospital out of town. During the week,
she has rarely been available for the children when they wake up in the morning and is
typically unavailable in the afternoons to pick them up from school. Throughout her
timeshare, the children are basically being raised by various sitters. Often times, the

Case: 5:20-cr-00047-DCR Doc #:17-2 Filed: 09/15/20 Page: 3 of 3 - Page ID#: 57

sitters quit due to the early morning schedule or demand of getting three children up and
ready for school, When that happens, Theo is always available to pick up the children at
6:00 a.m. to get the children breakfast and ready for school. He offers them constancy

and support.

| appreciate the criminal justice system and the key role it plays. I do not condone Theo's
commission of a crime by any means. If Theo he had not been abusing alcohol and
dependent on Ritalin, I trust that he would not have engaged in the bad judgment, which
has now placed him before your Honor. However, I believe in second chances. Theo has
made amends to the others he unfortunately involved and has addressed and continues
to address his sobriety, daily. I respectfully request that the Court find a creative way to
allow Theo to be punished for his criminal conduct, while allowing him to continue to be
the positive and supportive father—both financially and personally, and contributing
member of the community. Thank you for your consideration.

Very truly yours,

G—)

Brandi N. Lewis

